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Dr. Wang was fascinated by physiology,
particularly in the area of fat metabolism.
                                                   The Solution
In order to better understand the fat-burning      Dr. Wang wasn’t content to just let humans
process in humans, he studied ground               be stuck with adenosine and our slow fat-
squirrels for more than 20 years. He found         burning process. After countless tests and
that these remarkable mammals hibernate            years of research, Dr. Wang discovered that
for six to eight months a year with no food        there is not only a way to effectively and safely
or water yet somehow stay warm enough              block adenosine but that it could be done
to survive harsh winter temperatures. They         using natural ingredients. The problem of
are able to do this by essentially burning fat     adenosine and slow fat burn has finally been
on command.                                        solved—and Melaleuca is proud to offer the
                                                   very delicious solution to the world.
“I was curious about how these squirrels burn
                                                   Dr. Wang found that of all things a certain
fat on command,” Dr. Wang says, “yet humans
                                                   type of xanthine called theobromine which
still put the fat on. We have a hard time losing
that fat. So I wanted to know why we can’t
                                                   is found in cocoa, holds the key to blocking               DR. LARRY WANG
                                                   adenosine. That’s right, cocoa. Chocolate.
burn fat on command.”
                                                   But it has to be the right cocoa delivered           Dr. Larry Wang was born in
                                                   in the right amount in the right combination
                                                                                                        China and grew up in Taiwan.
Fat Is an Asset                                    with other ingredients.
                                                                                                        He earned a Bachelor of
Through his studies, Dr. Wang came to
                                                   Access: Releasing the                                Science degree from National
understand that our bodies need fat to operate
                                                                                                        Taiwan Normal University.
correctly. However, as he continued to study
metabolism, he realized something very
                                                   Adenosine Hand Brake
                                                                                                        He then moved to the United
important. “Fat is an asset,” he says. “Fat is     For years, millions of people around the
a good thing, and because it’s a value-added       world have benefited from the theobromine            States and earned a master’s
asset to our survival, our bodies have to guard    in Access. But Dr. Wang wasn’t done. Through         degree in biology from Rice
it. Therefore, there must be a protective          his ongoing research and in conjunction with
                                                                                                        University in 1967 and a PhD in
mechanism guarding its misuse and abuse.”          Melaleuca’s research and development team,
                                                   Dr. Wang found another natural ingredient            animal physiology from Cornell
Further study led Dr. Wang to his landmark
                                                   called CLA (conjugated linoleic acid) that also      University in 1970. He spent
discovery. Unlike ground squirrels, humans
                                                   works to give your body the ability to access
have a natural fat guard in adenosine that                                                              the next 35 years teaching
                                                   the power to burn fat faster. Today, these
naturally slows our ability to burn fat. Not                                                            and conducting research at
                                                   scientists have improved the original Access
only that, but even as we get into the fat-
                                                   formula by combining theobromine and CLA             the University of Alberta. His
burning cycle, adenosine triggers muscle
                                                   into a delicious bar that blocks adenosine’s
weakness and fatigue, making our efforts to
                                                   natural process for guarding fat, sapping            credits include:
burn fat more exhausting. In addition, slowing
                                                   energy, and reducing muscle power. In effect,        • Owner of 12 patents—the first
fat burn forces the body to burn glucose
                                                   Access releases the brake that adenosine puts
                                                                                                         	
(sugar), which requires a large amount of                                                                 received for Access
                                                   on your body’s ability to burn fat. With this
oxygen. If muscles can’t get enough oxygen
                                                   amazing discovery, you can work out harder             in 1993
to burn glucose, lactic acid builds up, causing
                                                   and longer than ever before, burn fat faster,
more muscle weakness, fatigue, soreness, and                                                            • Author of 5 books
                                                   and do it with less soreness and fatigue! With
further exhaustion. The result: it’s hard to
                                                   Access, every second of every workout is more
access the energy stored in the fat you want                                                            • More than 150 published
                                                   efficient and totally worth it.
                                                                                                         	
to burn.
                                                                                                          scientific reviews and
                                                   Science Proves the                                     research papers
                                                   Natural Power of Access                              • Elected Fellow, Academy
                                                                                                         	
                                                   If all this sounds too good to be true, it’s not.      of Sciences, Royal Society
                                                   These fat-burning ingredients have been                of Canada—the highest
                                                   proven by multiple scientific studies. In fact,
                                                   CLA alone has been the subject of nearly 20            academic honor bestowed
                                                   clinical studies on over 2,000 participants.           in Canada
                                                   Each time, it has decreased body fat by as
                                                   much as 10% while increasing muscle mass             • Recipient of the Friendship
                                                                                                         	
                                                   by 1.3 pounds—proving that the perfect                 Award—the highest honor the
                                                   combination of theobromine and CLA found
                                                                                                          government of China bestows
                                                   in Access Bars is effective for all body types
         WITH ACCESS,                              and all age groups. Nothing is more powerful.
                                                   There is no other bar like it in the world. Try
                                                                                                          on foreign experts

        YOUR WORKOUTS                              it yourself. Share it with others. And see how       • Cofounder of the Ecological
                                                                                                         	
                                                   great it feels to put adenosine in its place.          Conservancy Outreach Fund
         ARE WORTH IT!                                                                                    at the University of Alberta



                                                              EXHIBIT 4 - PART D                              JULY 2020 | MELALEUCA.COM   39
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 How PURE™ Blue Heat
 Roll-On Muscle Massage
 helps you make a

COMEBACK!
 “
 This product is now a
 staple in my exercise
 toolbox because I
 think it’s helped me
 that much.
 —National Director 9
  Jason Paulin




40   JULY 2020 | MELALEUCA.COM    These results are not typical. Please consult the Annual Income Statistics on page 52 for typical results.
                   QA
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                                    &                          With
                                                               National Director 9
                                                               Jason Paulin

Q: What first appealed to                          Q: Does it make your muscles
you about this product?                            feel better after exercise?
A: I work out quite a bit and I demand a lot       A: I think it helps reduce some of the negative effects from my
from myself. It feels like I’m always achy and     workout and makes me feel calm. There’s benefit in that alone.
sore. When I was turned on to essential oils       The other thing I love about this product is that it’s almost like a
by a massage therapist, I was pleasantly           built-in massage—you get the benefits from both the essentials
surprised by how well they worked. When I          oils and the roller ball tool, which feels amazing on your muscles.
discovered PURE Blue Heat Roll-On Muscle
Massage, I was drawn to the convenience of it.
I like the fact that this product is already put   Q: Where do you store your Blue Heat Roll-On gel?
together for me. I don’t have to blend it          A: I have a few bottles, so I keep them in different places. I’m a
or dilute it—the hard part is already done.        huge fan of this product! I keep one in my home gym, one in my
That’s a game changer!                             bathroom, and one in my backpack for traveling.


Q: Now that you’ve been using                      Q: Would you recommend this product to a friend?
it, how are you liking it?                         A: Absolutely. My neighbor runs with me every Wednesday,
A: I enjoy the benefits of the topical             and I’ve already got him to add it to his cart. I’ll talk to everyone
application because of the immediate cooling       about it because this Blue Heat Roll-On is effective, affordable,
and warming sensation. Plus, I love how the        high quality, and convenient. What else do you need?
smell makes me feel. I get a calming sensation
after using it! This is wonderful for me
because I’m wound up tight, especially after
a heavy workout. I also think the camphorous
scent makes me feel like I can breathe better.
And I keep coming back to this, but the roll-
on bottle is just so convenient. A lot of times
in the past I would rub the oil into my skin
with my hands. Now there’s no mess, and I
never have to get my hands dirty.


Q: How often do you use it?
A: I use my Blue Heat Roll-On Muscle Massage
every day, both before and after exercise. I’ll
also use it before bed and when I’m traveling.
My wife, Brooke, and I are planning on going
on a road trip soon, and this product is going
to be key when we do our hikes.


Q: Where do you use it?
A: The two nonnegotiable spots are on my
shoulders and knees. I’m a heavier person
and I do a lot of running and calisthenics like
burpees that put pressure on my joints.
But where I choose to roll it on really depends
on what particular exercises I’m going to do
that day. I’ll roll it onto my elbows, the back
of my neck, and my quads.
                                                                                               JULY 2020 | MELALEUCA.COM   41
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                REGIONAL CONFERENCE
                                                                                            2020
                                                                                            CALENDAR OF EVENTS
           ADVANCE REGIONAL CONFERENCE                                                      July 2 | Virtual Road to Executive Director
           9:00 AM–1:00 PM                                                                    (for qualifying Senior Directors only)

           ADVANCE Regional Celebration and Mentoring
           is coming to locations across North America.                                     July 11 | Virtual ADVANCE
           Team up today, set goals, and advance your business                                Chicago, IL
           so you can be celebrated at this regional event.
           Join hundreds of Marketing Executives as you receive
           mentoring from some of Melaleuca’s most successful                               August 8 | ADVANCE
           Presidential, Corporate, National, and Executive                                  Philadelphia, PA
           Directors and hear from Melaleuca’s Executive Team.
           Bring your team so they can learn how to grow their
                                                                                            August 8 | ADVANCE
           businesses and their residual incomes. When you
                                                                                             Toronto, ON
           advance your business two months prior to ADVANCE,
           we’ll celebrate your success.
                                                                                            September 12 | ADVANCE
           Attend an in-person ADVANCE as a VIP!                                              Kansas City, KS
           Personally enroll TWO Preferred Members in
           the qualifying month and earn the VIP package:
                                                                                            September 12 | Virtual ADVANCE
               VIP registration
                                                                                              Minneapolis, MN
               Lanyard
               VIP photo
                                                                                            October 15–17 | Standing ELC
New for    Attend an in-person ADVANCE as a Circle of                                        JW Marriott Starr Pass / Tucson, AZ
2020       Influence VIP!
           Personally enroll FOUR Preferred Members in the
                                                                                            November 7 | ADVANCE
           qualifying month and earn the Circle of Influence
                                                                                             Atlanta, GA
           VIP package:
               VIP registration
               Lanyard                                                                      November 14 | ADVANCE
                                                                                             Scottsdale, AZ
               Circle of Influence VIP photo
               Reserved seating

           Set goals to qualify for the following
           awards at ADVANCE:
               D
                irector and Above Advancements: Advance                                    Our first priority is the health and
               your business in qualifying months to any status                             safety of our attendees and employees,
               Director or above.
                                                                                            so dates and details are subject to
               2
                0/20 Club: Become a 20/20 Club member by
               having a total of 20 personal enrollees for the first
                                                                                            change. For the latest calendar updates,
               time in qualifying months, and receive an exclusive                          visit Melaleuca.com/Events.
               Melaleuca tablecloth to use at your events.




           For more details regarding qualifying months, go to Melaleuca.com/Advance.




               Melaleuca.com/Advance | #Advance | #DiscoverWhy |
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                             2021




 LEADERSHIP QUEST 2021 / Hyatt Hill Country, San Antonio, Texas / February 4–6, 2021

               QUALIFICATION PERIOD: MAY 2020–OCTOBER 2020

TO QUALIFY FOR YOUR INVITATION, EARN 25 POINTS BY OCTOBER 31, 2020
               Earn points by enrolling new Preferred Members and developing leaders.

                                         • 1 point = new Preferred Member
                                         • 5 points = new personal Director*
                                         • 5 points = new personal Director 3*


                                                                    
*	New Directors and Directors 3 must be in status as of October 31 and enroll a minimum of four Preferred Members during the
   qualifying time frame. Senior Directors and above can qualify for this event; however, the Marketing Executive must have
   attended Road to Executive Director. In addition, qualifiers must have a retention rate of at least 90%. Retention rate is based
   on the most current one-month or three-month rolling rate.




                          For information on how to qualify, visit Melaleuca.com/Quest.
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               CAR BONUS
     LET MELALEUCA PAY FOR YOUR CAR




     LEAVING A LEGACY

     During the summer of 1992, Executive Directors 7 Marc            Sharing Melaleuca’s business opportunity and highlighting the Car Bonus has become
     and Carole Selness were looking forward to a fun, relaxing       a family affair for Marc and Carole. They always seem to talk about Melaleuca at
     vacation in Florida, hundreds of miles from their home           family gatherings. Both of Carole’s sisters are National Directors. And in 2006, their
     in Minneapolis. On their way to the Sunshine State, they         daughter Nicole advanced to Senior Director as well.
     started to have car trouble—and the needed repairs were
     expensive. So Marc and Carole decided to purchase a new          “We’ve certainly had lots of adventures over the years. We had lots of late-night
     car, trusting that their Melaleuca business would provide the    driving after presenting Overviews at others’ homes hundreds of miles away.
     extra funds needed to make their car payments. And it did!       I did a lot of them by myself, and I was glad to always feel secure in my vehicle
                                                                      when traveling alone. Our whole Melaleuca journey has been the most incredible
     Marc and Carole’s business advanced to Senior Director           experience. And since it’s such a family affair, we laugh when our kids tell us to
     a month after purchasing that new car—and they have been         stop talking about Melaleuca at family events!”
     earning the Car Bonus ever since. They have purchased
     11 new vehicles since 1992.

     “While I worked as a music director for churches in
     Minneapolis and Marc was a court recorder, our budget
     was always so tight,” Carole says. “Without Melaleuca,
     it never would have been an option for us to always drive
     brand-new cars like we have. It really changed our budget
     to not have a car payment all these years. It’s just been
     a tremendous blessing.”

     The Car Bonus is a unique Melaleuca benefit the Selnesses
     have loved sharing with others over the years. “We always
     talk about the Car Bonus in our Melaleuca Overviews,”
     Carole says. “We often ask, ‘How would it impact your
     budget if you were able to get your car payment covered by
     Melaleuca?’ We explain that though not everyone is able to
     build a business that qualifies for the Car Bonus, with hard
     work, consistency, and dedicated leadership, this could be                      Executive Directors 7 Marc & Carole Selness AZ
     a reality for them. And I always like to walk outside and                                     2017 Ford Explorer
     show them our car before they leave.”




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         Executive Directors 9 Nilsa Salas & Jorge Nieves PR                            Executive Directors 6 Jack & Nancy Mellor RI
                           2019 Fiat 500L                                                      2019 Land Rover Range Rover




             Executive Directors 3 Pete & Sue Barbera SC                                     Executive Director 2 April Tucker MI
                     2018 Jeep Grand Cherokee                                                     2018 Mercedes GLE 550




              Executive Directors 2 Saul & Elana Kaye CA                                Senior Directors 9 Lisa & Robert Longmuir ON
                          2019 Tesla Model 3                                                        2019 Chrysler Pacifica




             Senior Directors 4 Pamela & Larry Owen GA                                     Senior Director 2 Fabian Melendez Mex
                           2018 Ford F150                                                               2017 Mazda 3

These results are not typical. Please consult the Annual Income Statistics on page 52 for typical results.     JULY 2020 | MELALEUCA.COM   45
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                Enjoy the
                moment.




                              Sol-U-Guard Botanical® Disinfectant is
                              approved by the EPA to be used against
                              the coronavirus when used as directed.*


                             Did you know that, according to the EPA, indoor air quality
                             may be five times worse than outdoor air quality? Protect your
                             family by disinfecting regularly with Sol-U-Guard Botanical,
                             which uses the power of thyme oil and citric acid, instead
                             of spraying disinfectants that use dangerous chemicals.


                              *COVID-19 is caused by coronavirus. Sol-U-Guard Botanical kills similar viruses
                              and therefore can be used against coronavirus when used in accordance with
                              the directions for use against rhinovirus and poliovirus on hard, nonporous
                              surfaces. Refer to the CDC website at www.cdc.gov/coronavirus/2019-ncov/
                              index.html for additional information.
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                                                                                      LEADERSHIP DEVELOPMENT POOL BONUSES:
                                                                                      Qualifying Senior Directors with a Monthly Retention
                                                                                      Index (MRI) share in a lucrative pool equal to 0.25% of
                                                                                      total company Product Points each month. Qualifying
                                                                                      Executive, National, Corporate, and Presidential Directors
M AY 2 0 2 0 L E A D E R S H I P                                                      with a Monthly Retention Index (MRI) share a pool


DEVELOPMENT POOLS
                                                                                      equal to 1% of company Product Points each month.
                                                                                         Your share of the pool is calculated based on the
                                                                                      number of pool shares you have versus others who


TOP EARNERS
                                                                                      are participating in the pool. You earn pool shares
                                                                                      each time a personal enrollee advances in status from
                                                                                      Director through Senior Director.




EXECUTIVE, NATIONAL, CORPORATE, and PRESIDENTIAL DIRECTORS
STATUS                             NAME                                        STATE/PROVINCE               POOL BONUS

Corporate Director 4               Jefferson Green                                   GA                         $9,284

National Director 4                Yeison Ramirez                                    FL                         $8,013

Executive Directors 9              Geneveve & Sean Sykes                             FL                         $6,493

National Directors 7               Adrienne & Michael Sifontes                       GA                         $5,783

Executive Director 4               Dianna Forsberg                                   TX                         $5,783

Executive Director 3               Shontay Salter                                    SC                         $5,783

National Directors 5               Kimberly & Edward Satterwhite                     GA                         $5,479

Executive Directors                Marlaine Lefrancois & Richard Vallee              QC                         $5,479

Executive Directors 4              Sylvain Laplante & Monique Pothier                QC                         $5,114

Executive Directors 3              Maria & Bryan Pereira                             FL                         $4,870




SENIOR DIRECTORS
STATUS                             NAME                                        STATE/PROVINCE               POOL BONUS

Senior Directors 9                 Chris Winik & Lorelei Vandendriessche             ON                         $4,065

Senior Directors 9                 Gabriel & Stephanie McDaniel                      TX                         $2,726

Senior Directors 9                 Robby & Jessie Ellison                            WV                         $2,203

Senior Directors 9                 Lisa & Robert Longmuir                            ON                         $2,181

Senior Directors 9                 Carol & Stephen Baxter                            LA                         $2,066

Senior Directors 4                 Nicole & Changa Cooper                            TN                         $1,542

Senior Directors 4                 Margarita & Thomas Marshall                       NY                         $1,487

Senior Director 4                  Frank Jalbert                                     QC                         $1,454

Senior Director 7                  Damon Moats                                       MD                         $1,405

Senior Director 3                  Cynthia Taylor-Iwankow                            MB                         $1,388

These results are not typical. Please consult the
Annual Income Statistics on page 52 for typical results.                                              JULY 2020 | MELALEUCA.COM         47
Melaleuca      Rewards Visa
   Case 8:20-cv-01743-KKM-TGW     ®
                                    Card
                              Document 1-8 Filed 07/28/20
                                     146
                                                                                                     Another Great Benefit
                                                                                   Page 10 of 18 PageID
                                                                                                   for Melaleuca Members




    Earn Loyalty Shopping Dollars
    every time you shop with the Melaleuca Rewards Visa Card!


  $100 inafter
            Loyalty Shopping Dollars
               your first purchase*


    6 %BACK on Melaleuca
            purchases


    4 BACK
       %       at gas stations, grocery
               stores, and restaurants


    2 %BACK on all other
            purchases              No
                                 Annual
                                  Fee!


              “I use my Melaleuca Rewards Visa Card pretty much every day.
               I love it because every time I use it, I know I’m going to get
               free Melaleuca products!”†
               					Cindy K.
               					Melaleuca Rewards Visa cardholder
               					since March 2018




 Redeem your Loyalty
 Shopping Dollars
 to get even more
 of the Melaleuca
 products you love.



                                                   Apply now at Melaleuca.com/Visa
                                                 * Subject to credit approval. Within 90 days of account opening.
                                                 † This customer testimonial is an independent opinion and view from a Melaleuca
                                                   Rewards Visa Card member. Testimonials are not edited by Melaleuca or the issuing
                                                   bank. Products and benefits mentioned in testimonial reviews may change over time.
 Case 8:20-cv-01743-KKM-TGW          Document 1-8   Filed 07/28/20                    Another Great Benefit
                                                                      Page 11 of 18 PageID
                                                                                                     for Melaleuca Members
                                           147




                                                        Keep your
                                                        identity
                                                        yours.




InfoGuard Advanced                                                   Only $5 to get started!
Identity Protection                                                  Melaleuca partnered with InfoGuard
                                                                     to bring you Advanced Identity
                                                                     Protection at an incredible value!
Guard your personal information, money,                              • Monthly plans from $7.99 to $29.95
credit worthiness, and good name at a price
                                                                     • Earn 2–8 Product Points toward your
you’ll only find at Melaleuca.                                         35 Product Point commitment




                                                                               SIGN UP NOW!
                                                                      Melaleuca.com/InfoGuard
                                                                     No company can prevent all identity theft
                                                                     or monitor all transactions. InfoGuard does
                                                                     not monitor all transactions at all businesses.
                                                           Coaching & Leader Development Teams
               Case 8:20-cv-01743-KKM-TGW                                                  Document 1-8                                        Filed 07/28/20                                       Page 12 of 18 PageID
                                                                                                 148
                                                           Below you’ll find your team listed by region and by title (vice president, director, and manager).
                                                           We look forward to partnering with you!

                  ALASKA

                                                                                        BRIT                                    ALBER
                                                                                       COLU ISH




                                                                                                                                                                                   CAROL BARREIRO
                                                                                                                                        TA




                                                                                                                                                                                                                                                                                     TRAVIS WENGREEN
                                                                                           MBIA


                                                                                                                                                                                                                         MANITOBA

                                                                                                                                                                                   SASKATCHEWAN
                                                                               WAS
                                                                                   H   I N GT
                                                                                             ON

                                                                                                                                                                                                       NORTH DAKOTA

                                                                                                                                                   MONTANA
                                                                                                                                                                                                                                                             MINNESOTA




                                                                                                                                                                                                                                     JEREMY JOHNSON
                                                                                                   BEN SWEETWOOD
                                                                 ORE
                                                                       GON
                                                                                                                                                                                                                                                                                              WISCO
                                                                                                                       IDAHO

                                                                                                                                                              WYOMING                                   SOUTH DAKOTA


                                                                                                                               UTAH                                                                                                                                 IOWA
                                                                   ERIC CALL




                                                                                 NEVAD
                                                                                      A                                                                                                                        NEBRASKA




                                                                                                                                                                     JAKE MAVITY
                                                                                                                                                                                      COLORADO




                                                                                                                                                                                                                                                                         ED JESSOP
                                                                                                                                                                                                                                           KANSAS




                                                                                                                                                                                                         JASON JOHNSON
                                                                                                                                                                                                                                                                       MISSOURI
                                                                                                                   ZAC WAITE




                                                                       CALIFO
                                                                                RNIA


                                                                                                                                                                                                                                                      OKLAHOMA
                                                                                                                                                      NEW MEXIC                                                                                                        ARKANSAS
                                                                                                                   ARIZONA                                     O




                 US HISPANIC & MÉXICO                                                                                                                                                                                                                                  LOUISIANA
                                                                                                                                             ISRAEL PALAFOX




         ISRAEL PALAFOX                         1-208-534-2061                                                                                                                                                                TEXAS
 NATIONAL VICE PRESIDENT
                                                ipalafox@melaleuca.com

                 JORGE MENA                     1-208-313-7836




                                                                                                                                                                                                                                                                                                       JORGE MENA
                                                                                                                                                                                                                    VICTOR BARAJAS




           VICE PRESIDENT OF
        HISPANIC OPERATIONS                     jomena@melaleuca.com
                  US HISPANIC
VICTOR BARAJAS DIRECTOR                         1-208-534-2075
 Executive Director to Presidential Director
                       US HISPANIC              vbarajas@melaleuca.com
                                                                                                  NATIONAL VICE PRESIDENT
 SOCORRO FLORES-HARPER                          1-208-534-2117                                      US Hispanic | México
                     MANAGER
      DIRECTOR TO SENIOR DIRECTOR 9             sfloresharper@melaleuca.com
                                                                                                                                                                                                                                                                 VICE PRESIDENT
                                                                                                                                                                                   MÉXICO
                 US HISPANIC
                                                                                                                                                                                                                                                                   US Hispanic
    VICTOR MEJIA DIRECTOR                       1-208-534-2075
                                                                                                                                                               VICTOR MEJIA




  Executive Director to Presidential Director
                               MÉXICO           vbarajas@melaleuca.com

ADRIANA SERNA MANAGER                           1-208-534-2068
                                                                                                                                                                                                              ADRIANA SERNA




    Senior Director to Senior Director 9
                           MÉXICO               aserna@melaleuca.com




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                    Case 8:20-cv-01743-KKM-TGW                                                                                                  Document 1-8                        Filed 07/28/20                      Page 13 of 18 PageID
                                                                                                                                                      149
                                                                                                                                                     CANADA                                                               US & CANADA VICE PRESIDENTS




                                                   JOHNNY MORGISON
                                                                                                 TRAVIS WENGREEN DIRECTOR                                      1-208-534-2213                                           MARK TOWNSEND                          1-208-534-2052
                                                                                                    Executive Director to Presidential Director                                                                        SR. NATIONAL VICE
                                                                                                                                CANADA                         twengreen@melaleuca.com                           PRESIDENT UNITED STATES                       mtownsend@melaleuca.com

                                                                                                    CAROL BARREIR0 MANAGER                                     1-208-534-2244                                          JOHNNY MORGISON                         1-208-534-2038
                                                                                                        Senior Director to Senior Director 9                                                                     NATIONAL VICE PRESIDENT
                                                                                                                             CANADA                            cbarreiro@melaleuca.com                                           CANADA                        jmorgison@melaleuca.com

                                                                                                                                                                                                                     MARTIN CASARIEGO                          1-208-534-2253
                                                                                                                                                                            AS
                                                                                                                                                                                 COT
                                                                                                                                                                                     IA
                                                                                                                                                                                                                REGIONAL VICE PRESIDENT
                                                                                                                                                        NEW              NOV                                                                                   mcasariego@melaleuca.com
               NATIONAL VICE PRESIDENT                                                                                                                       ICK
                                                                                                                                                                                                                             SOUTHEAST
                                                                                                                                                      BRUNSW
                       Canada                                                                                                                                                                                          LEWIS RASMUSSEN                         1-208-534-2335
                                                                                                                                                                                                                         VICE PRESIDENT OF
                                                                                                                                                                                                                                                               lrasmussen@melaleuca.com

                            CANADA
         ONTARIO                                                                                                                                                                                                 LEADERSHIP DEVELOPMENT

                                                                                                                                                                                                                                                       PACIFIC
                                                                                                                      QUEBEC
                                                                                                                                                                                                              BEN SWEETWOOD DIRECTOR                           1-208-534-2238
                                                                                                                                                     MAINE
                                                                                                                                                                                                               Executive Director 2 to Presidential Director
                                                                                                                                                                                                                                                               bsweetwood@melaleuca.com
                                                                                                      GREG BEAN


                                                                                                                         VERMON
                                                                                                                                  T                                                                                    ZAC WAITE MANAGER                       1-208-534-2619
                                                                                                                                                                                                                     Senior Director to Executive Director
                                                                                                                                                                                                                  AK, AZ, GU, ID, NV, OR, WA                   zwaite@melaleuca.com
                                                                                                                                    NEW
                                                                                                                                        HIRE
                                                                                                                                  HAMPS                                                                                   ERIC CALL MANAGER                    1-208-534-2233
ONSIN            MICHIGAN                                                                                                                                                                                              Senior Director to Executive Director
                                                                                                                               MASSA
                                                                                                                                    CHUSET
                                                                                                                                                TS
                                                                                                                                                                                                                                                       CA      ecall@melaleuca.com
                                                                                                          RK
                                                                                          NEW YO                                        TICUT
                                                                                                                                                                                                                                                     MIDWEST
                                            JACOB PETERSEN




                                                                                                                               CONNEC            RHODE
                                                                                                                                                 ISLAND

                                                                                                                       NEW                                                                                           JAKE MAVITY DIRECTOR                      1-208-534-2771
                                                                                                                      JERSEY                                                                                     Executive Director to Presidential Director
                                                                                            LVANIA




                                                                                                                                                                                            MARK TOWNSEND
                                                                                     PENNSY                                                                                                                                                                    jmavity@melaleuca.com

                                                                                                                                                                                                               JASON JOHNSON MANAGER                           1-208-534-2582
                                                                                                    LAND                                                                                                           Senior Director to Senior Director 9
                                                                                             MARY
                                         OHIO                                                                             DELAW
                                                                                                                               ARE
                                                                                                                                                                                                                   CO, MT, NM, TX, UT, WY                      jajohnson@melaleuca.com
 ILLINOIS      INDIANA
                                                               WEST                                                                                                                                                                                  CENTRAL
                                                              VIRGINIA
                                                                                                                                                                                                              JEREMY JOHNSON DIRECTOR                          1-208-534-2279
                                                                                                 IA
                                                                                        VIRGIN                                                                                                                  Executive Director to Presidential Director
                                                                                                                                                                                                                                                               jjohnson@melaleuca.com
               KENTUCKY                                                                                                                                   SR. NATIONAL VICE PRESIDENT
                                                                     MINDY MCBRIEN




                                                                                                                                                                                                                         ED JESSOP MANAGER                     1-208-534-2217
                                                                                         N O RT
                                                                                                H                                                                 United States                                         Senior Director to Senior Director 9
                                                                                              LINA                                                                                                                                                             ejessop@melaleuca.com
                                                                                        CARO                                                                                                                                   IA, IL, KS, MN, MO,
                                                                                                                                                                                                                             ND, NE, OK, SD, WI
            TENNESSEE

                                                                        SOUTH
                                                                                                                                                                                                                                                 NORTHEAST
                                                                       CAROLINA                                                                                                                                        GREG BEAN DIRECTOR                      1-208-534-2130
                                                                                                                                                                                                                 Executive Director to Presidential Director
                                                                                                                                                                                          LEWIS RASMUSSEN




                                                                                                                                                                                                                                                               gbean@melaleuca.com
 MISSISSIPPI
                                          GEORGIA                                                                                                                                                             JACOB PETERSEN MANAGER                           1-208-534-2254
                                                                                                       DOUG STEWART




                ALABAMA                                                                                                                                                                                              Senior Director to Senior Director 9
                                                                                                                                                                                                             CT, DC, DE, IN, MA, MD, ME, MI,                   jpetersen@melaleuca.com
                                                                                                                                                                                                                  NH, NJ, NY, OH, PA, RI, VT

                                                                                                                                                                                                                                                  SOUTHEAST
                          JASON RHODES




                                                                                                                                                                                                                 DOUG STEWART DIRECTOR                         1-208-534-2829
                                                                                                                                                                                                                 Executive Director to Presidential Director
                                                                                                                                                                                                                                                               dstewart@melaleuca.com
                                                                                                                                                                VICE PRESIDENT OF
                                                                                                                                                             LEADERSHIP DEVELOPMENT                               JASON RHODES MANAGER                         1-208-534-2242
                                                                                                                                                                                                                     Senior Director to Senior Director 9
                                                                                             A                                                                                                                        AL, AR, FL, LA, MS, TN                   jrhodes@melaleuca.com
                                                                                       FLORID
                                                                                                                                                                                                                 MINDY MCBRIEN MANAGER                         1-208-534-2245
                                                                                                                                                                                                                     Senior Director to Senior Director 9
                                                                                                                                                                                                                    GA, KY, NC, SC, VA, WV                     mmcbrien@melaleuca.com
                                                                                                                                                                                          MARTIN CASARIEGO




                                                                          PUERTO RICO
                                                                                                                                                             REGIONAL VICE PRESIDENT
                                                                                                                                                                   Southeast
                                                                                                                                                                                                                                  JULY 2020 | MELALEUCA.COM                     51
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 MELALEUCA 2019 ANNUAL INCOME STATISTICS


     Customers                                                                         product
                                                                                     advocates
     The majority (81%)        of those who                                                          8%
     buy Melaleuca products each month
     are strictly customers. They’re not
     interested in ­pursuing the Melaleuca
     financial opportunity. They just love
     Melaleuca products. Only a few of
     them will ever decide to build
     a Melaleuca business.

                                                  Product Advocates
                                                  8% of all Melaleuca customers have referred at least one customer but fewer than eight customers. As those
                                                  customers purchase products directly from Melaleuca, those who referred them receive a small commission. These
                          81%                     households are not necessarily interested in the financial opportunity. Their relationship with Melaleuca is primarily
                        customers                 because they love Melaleuca products. Their “status” is determined by how many customers they have referred.
                                                  A Product Advocate has at least one customer. A Product Advocate 2 has referred at least two customers, and
                                                  a Product Advocate 3 has referred at least four customers. While these individuals may not be considered serious
                                                  business builders, their customers ( like the vast majority of Melaleuca customers) come from word-of-mouth referrals.
                                                  Therefore, the overall contribution of these individuals is significant.


                                                                                                                                          total
                                                                                                                    personal                                    time to
                                                                                    annual income                                         active
                                                                                                                   customers                                 achieve status
                                                                                                                                        customers
                                                                                   high       low    average      minimum   average     minimum   average    shortest        longest




                                                PRODUCT ADVOCATE                  $2,682      $16    $114            0        1           1         4        1 Mo.        341 Mo.

                                                PRODUCT ADVOCATE 2                $4,854      $32    $249            2        3           2         9        1 Mo.        379 Mo.

                                                PRODUCT ADVOCATE 3                $7,241      $65    $573            4        6           4        20        1 Mo.        324 Mo.




                                               Beginning a Business
          business
          builder


                  11%                          About one out of nine customers    (11%)      decide to start their own Melaleuca business and eventually achieve
                                               Director status, which is considered the first step to becoming a business builder. Directors have made a significant
                                               effort ( probably spent 50 hours or more) in developing at least eight Melaleuca customers. Those estimated 50 hours
                                               could have been spent in a single week or could have been spent over several years. But at some point in their lives,
                                               Directors have invested enough time to develop (and maintain) at least eight Melaleuca customers.


                                                                                       personal                  total active
                                                      annual income                                                                               time to achieve status
                                                                                      customers                   customers
                                                    high        low     average     minimum    average         minimum        average             shortest               longest


                          DIRECTOR/
                          DIRECTOR 2 (89.7%)     $30,045      $314 $2,209                 8     16               8                73               1 Mo.                328 Mo.




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                                                   Initial Leadership Status
                                                   Leaders at these statuses have made a more serious effort to build a Melaleuca business. Those who have reached
                                                   these leadership statuses have not only invested enough time to refer several customers, but they have also helped
                                                   some of those customers start a business and become Marketing Executives. Those Marketing Executives have,
                                                   in turn, referred additional customers who purchase Melaleuca products each month. Commissions are paid based
                                                   on the development of customers and the development of leaders who help others reach their goals.


                                                                                                         personal                  total active
                                                                   annual income                                                                                  time to achieve status
                                                                                                        customers                   customers
                                                           high             low         average        minimum     average        minimum          average            shortest              longest




            DIRECTOR 3 (3.2%)                         $33,814           $3,641         $9,476            11          37            47              170                1 Mo.               352 Mo.

            DIRECTOR 4 / 5 (2.0%)                     $49,579            $5,216        $15,782           13          46            95              316                1 Mo.               285 Mo.

            DIRECTOR 6 / 7 (1.0%)                     $75,300           $12,143       $23,008            16          55           178              414                1 Mo.               362 Mo.

            DIRECTOR 8 / 9 (0.6%)                     $86,996          $20,502        $35,988            22          68           290              619                1 Mo.               264 Mo.




                                            Advanced Leadership Status
                                            Those Marketing Executives who reach Senior Director or above have shown substantial interest and dedication in
                                            building a Melaleuca business. While they may not work their businesses full time, it is essential that they invest some
                                            time each month nurturing, training, and helping those in their marketing organizations. Melaleuca advocates that
                                            Marketing Executives keep their full-time jobs and work their Melaleuca businesses in their spare time. However, some
                                            Executive Directors at the higher income statuses do work their businesses close to full time. Melaleuca strongly
                                            advocates that Marketing Executives do not quit their full-time jobs until their Melaleuca incomes far surpass the incomes
                                            they receive from their full-time employers. Rather, they should add their Melaleuca incomes to their regular incomes,
                                            thereby making a substantial difference in their family finances.

                                                                                                         personal                  total active
                                                                  annual income                                                                                   time to achieve status
                                                                                                        customers                   customers
                                                    high                low            average         minimum     average        minimum          average            shortest              longest




SENIOR DIRECTOR 1–9 (2.0%)                     $219,020              $27,437          $67,597            21          91           379             1,079               1 Mo.               267 Mo.

EXECUTIVE DIRECTOR 1–9 (1.2%)                  $738,981              $64,507         $164,818            36         122           981             2,679               2 Mo.              353 Mo.

NATIONAL DIRECTOR 1–9 (0.2%)                   $599,653             $156,132         $289,718            50         141          2,954            5,163               5 Mo.               277 Mo.

CORPORATE DIRECTOR 1–9
(LESS THAN 0.1%)                              $2,754,600            $285,424         $1,165,218          98         272          6,334           12,945              10 Mo.               251 Mo.



The above annual income statistics include all US and Canadian Melaleuca Marketing     For the purpose of these statistics, a Marketing Executive’s leadership or developmental status was calculated
Executives who were active during all 12 months of the period ending December 2019     by taking the highest status achieved and maintained for at least eight consecutive months. The information
and performed the minimum activity required at each status. The incomes stated         on this page is not necessarily representative of what any individual Marketing Executive will earn with this
include all commissions and bonuses actually paid during the period.                   program. Any representation or guarantee of specific earnings would be misleading. Success with any business
                                                                                       takes hard work, diligence, perseverance, and leadership. Success with Melaleuca will depend on how effectively
                                                                                       a Marketing Executive exercises those qualities.




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                   &
  MAKE
  CONNECTIONS
  GAIN
  PERSPECTIVE
  BUILD
  CONFIDENCE
  CELEBRATE
  SUCCESS
  READY
  TO COMMIT?
  Melaleuca.com/Convention

  BELIEVE IN YOU!



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